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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

WATERFORD CONDOMINIUM
ASSOCIATION OF COLLIER
COUNTY, INC.,

             Plaintiff,

v.                                               Case No: 2:19-cv-81-SPC-NPM

EMPIRE INDEMNITY
INSURANCE COMPANY,

              Defendant.
                                          /

                                        ORDER1

       Before the Court is the parties’ joint response (Doc. 78) to the Court’s

Order to Show Cause (Doc. 77). The appraisal panel issued an award. So the

Court directed the parties to show cause what issues remain and how the case

should proceed. Based on the response, a status conference would be helpful

to discuss the matters identified and (if necessary) set a scheduling order. The

Court, therefore, refers this case to the assigned Magistrate Judge for that

hearing.

       Accordingly, it is now



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      ORDERED:

      1. This case is REFERRED to United States Magistrate Judge

         Nicholas P. Mizell to conduct a status conference and issue any

         appropriate order. All parties must ATTEND the status conference

         as directed by Judge Mizell.

      2. The parties must CONTACT Judge Mizell’s Chambers, on or before

         November 17, 2021, to schedule a mutually agreeable time for the

         status conference.

      DONE and ORDERED in Fort Myers, Florida on November 10, 2021.




Copies: All Parties of Record




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